18-47902-mbm   Doc 17   Filed 08/30/18   Entered 08/30/18 09:01:51   Page 1 of 7
18-47902-mbm   Doc 17   Filed 08/30/18   Entered 08/30/18 09:01:51   Page 2 of 7
18-47902-mbm   Doc 17   Filed 08/30/18   Entered 08/30/18 09:01:51   Page 3 of 7
18-47902-mbm   Doc 17   Filed 08/30/18   Entered 08/30/18 09:01:51   Page 4 of 7
18-47902-mbm   Doc 17   Filed 08/30/18   Entered 08/30/18 09:01:51   Page 5 of 7
18-47902-mbm   Doc 17   Filed 08/30/18   Entered 08/30/18 09:01:51   Page 6 of 7
18-47902-mbm   Doc 17   Filed 08/30/18   Entered 08/30/18 09:01:51   Page 7 of 7
